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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN

 and                                                  Civil Action No. 21-3354 (BAH)

 WANDREA MOSS,
                                                      Judge Beryl A. Howell
                        Plaintiffs,

        v.

 RUDOLPH W. GIULIANI,

                        Defendant.



         PLAINTIFFS’ STATUS REPORT RE BERNARD KERIK DISCOVERY

       Pursuant to the Joint Stipulation Regarding Plaintiffs’ Motion to Compel Third Party

Bernard Kerik, ECF. No. 83 (the “Kerik Stipulation”), the Plaintiffs Ruby Freeman and Wandrea

ArShaye’ Moss (collectively, the “Plaintiffs”) submit this status report on Mr. Kerik’s discovery

compliance and outstanding issues.

       For purposes of this report, the Plaintiffs assume familiarity with the papers regarding

Plaintiffs’ Motion to Compel Discovery Bernard Kerik to Produce a Document-By-Document

Privilege Log and to Produce Documents and Testimony Improperly Withheld as Privileged, ECF

No. 63 (Plaintiffs’ “Motion to Compel Kerik”), and recount only that background relevant here.

See ECF Nos. 74, 76, 79, 82–83.

       After months of unsuccessful attempts to procure documents and testimony from Mr.

Kerik, who is “plainly an important source of relevant information” in this case, Plaintiffs filed the

Motion to Compel Kerik. ECF. No. 82 at 6. Following additional filings by both parties, ECF

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Nos. 74, 76, 79, the Court granted the Motion to Compel Kerik in part on July 13, 2023, ordering

Mr. Kerik to produce a document-by-document privilege log that “sufficient information to enable

other parties to assess the [privilege] claim” and show cause as to (1) why all withheld materials

should not be produced to plaintiffs, (2) why Mr. Kerik should not be ordered to sit for another

deposition on the withheld materials, and (3) why Plaintiffs should not be awarded attorney’s fees.

ECF. 82 at 20 (internal quotations and citations omitted). July 13 Minute Order (July 13, 2023).

       Following the Court’s order, on July, 23, Mr. Kerik produced a privilege log, (the “Revised

Privilege Log”), see Exhibit 1, and 562 documents previously withheld as privileged (the

“Previously Withheld Documents”) that were de-designated by the Trump Campaign. ECF. No.

83 at 2. On July 24, 2023, after meeting and conferring, Plaintiffs and Mr. Kerik filed the Joint

Stipulation where the parties agreed that:

   •   should Plaintiff choose to challenge the privilege designation for any documents in the
       Revised Privilege Log, “Mr. Kerik takes no position and consents to their disclosure for in
       camera review by the Court;”

   •   Mr. Kerik will sit for a virtual deposition “covering all topics which were objected to during
       the first deposition” and the Previously Withheld Documents; and

   •   Plaintiffs would update the Court on August 4, 2023, regarding the review of the Previously
       Withheld Documents and any further discovery issues.

ECF. No. 83 at 3.

   Plaintiffs have now reviewed the 562 Previously Withheld Documents and the Revised

Privilege Log. It is Plaintiffs view, having completed this review and consistent with Plaintiffs’

predictions, that the vast majority (if not all) of the Previously Withheld Documents were not

properly withheld as privileged. Apparently at the instruction of third parties, Mr. Kerik continues

to withhold 318 documents based on both attorney-client and work product privilege. Plaintiffs

have identified 97 documents that, on the face of the privilege log, appear not to be privileged, and

also appear to be related to Plaintiffs’ claims. (See Ex. 2.) At minimum, Plaintiffs request that the

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Court should review these 97 documents in camera. However, because Plaintiffs’ assessment of

what warrants further review is based on the descriptions in the Revised Privilege Log, and because

Mr. Kerik previously logged documents which we not privileged, Plaintiffs respectfully submit

that the more prudent course of action may be an in camera review of the full set of 318 documents.

Mr. Kerik has previously stated that he has no opposition to this relief. See ECF No. 83 at 3.

Finally, Plaintiffs note that they have no objection if the Court would prefer to defer any in camera

review until after resolving Plaintiffs’ outstanding Motion for Sanctions Against Defendant

Giuliani, ECF Nos. 81, 86, as such resolution may affect the Court’s need for further review of the

documents.




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DATED:       August 4, 2023

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2023, the foregoing document was filed with the Clerk

of the Court of the U.S. District Court for the District of Columbia by using the CM/ECF system,

which will automatically generate and serve notices of this filing to all counsel of record.



Dated: August 4, 2023

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